
673 S.E.2d 660 (2009)
STATE of North Carolina
v.
Richard Aaron BLANKENSHIP, Jr.
No. 45P09.
Supreme Court of North Carolina.
February 5, 2009.
Richard A. Blankenship, Jr., Pro Se.
Chris Z. Sinha, Assistant Attorney General, James C. Gaither, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed by Defendant on the 23rd day of January 2009 in this matter for a writ of certiorari to review the order of the North Carolina Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed by order of the Court in conference, this the 5th day of February 2009."
